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                           IN THE t;NITED STATES DISTRICT COLlRT
                        FOR THE EASTER~ DISTRICT OF PE~~SYLVA~IA


 ANTHONY WINBUSH                                         Case ~o.    1S         3712
 160 South Dennis Drive
 Clayton, NJ 08312

 and

 DERRICK RHAMAD                                          JURY TRIAL DEMANDED
 118 Margate Road, Suite B
 upper Darby, PA 19082

 and

 ROBERT N. SHEED
 2665 Willits Road, Apartment 0215
 Philadelphia, PA 19114,

                    Plaintiffs,

               ,- VS.


 LASALLE UNIVERSITY
 1900 West Olney A venue
 Philadelphia, PA 19141

                    Defendant.


                                          COMPLAI~T

        Plaintiffs Anthony Winbush, Derrick Rhamad, and Robert Sheed ("Plaintiffs"), through

their undersigned counsel and for their Complaint against LaSalle University ("LaSalle"), hereby

state as follows:

                                        I~TRODUCTION

        1.       This is an action for damages, injunctive relief, and for a declaratory judgment

against LaSalle for violations of the Fair Labor Standards Act of 1938 ("FLSA"), 29 U.S.C. § 201.
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et seq., the Pennsylvania Minimum Wage Act 43 P.S. §§ 333.101 - 333.115 ("PY1WA"), the

Pennsylvania Wage Payment Collection Law. 43 P.S. §§260.1 -- 260.45 ("WPCL"), and the

Philadelphia Wage Theft Ordinance in 9 Phi la. Code§ 9-4301. et seq.

                                 JURISDICTION AND VE~UE

       2.       This Court has jurisdiction over Plaintiffs' FLSA claims pursuant to 29 U.S.C. §

216(b) and 28 U.S.C. § 1331, as it is a law of the United States.

       3.       This Court has jurisdiction over Plaintiffs' state law claims pursuant to 28 U.S.C.

§ 1367 because those claims are so related to their FLSA claims that they form part of the same

case or controversy.

       4.       Venue in this Court is proper pursuant to 28 C.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claims occurred in this District.\

       5.       This Court is empowered to issue a declaratory judgment pursuan.t to 28 lJ.S.C. §§

2201 and 2202.                                                                  \   l

                                             PARTIES

       6.       Plaintiff Anthony Winbush is an adult individual residing in Clayton, :\ew Jersey

and a non-exempt, hourly, employee of LaSalle.

       7.       Plaintiff Derrick Rhamad is an adult individual residing m L'pper Darby,

Pennsylvania and a non-exempt, hourly, employee of LaSalle.

       8.       Plaintiff Robert Sheed is an adult individual residing in Philadelphia. Pennsylvania

and a non-exempt, hourly, employee of LaSalle.

       9.       Upon information and belief, LaSalle is a nonprofit corporation organized and

existing under the laws of the Commonwealth of Pennsylvania, with its principal place of business

at 1900 West Olney Avenue, Philadelphia, Pennsylvania



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        10.    LaSalle engages in educational, research, commerce, and other functions, and

generates and derives revenue therefrom from individuals and entities within and without this

Commonwealth.

        11.    LaSalle is a covered employer within the meaning of the FLSA, P\ttWA, and

WPCL, and the Wage Theft Ordinance.

                            FACTS COMMON TO ALL COt;NTS

        12.    Plaintiff Anthony Winbush and Plaintiff Robert Sheed are Captains m LaSalle's

Public Safety Department, and Plaintiff Derrick Rhamad is a Lieutenant in the department.

        13.    Plaintiffs' positions are not exempt from the overtime requirements of Section 7 of

the FLSA, 29 U.S.C. § 207 or under PMWA as they are, inter alia, paid on an hourly basis.

        14.    Plaintiffs worked for LaSalle as non-exempt employees within the meaning FLSA,

P\ttWA, WPCL, and Wage Theft Ordinance during the statutory periods for bringing a cause of

action under the terms of those acts.

        15.    LaSalle utilizes a two week pay period to pay employees in its Public Safety

Department.

        16.    Under LaSalle' s payroll policy, each work week in the Public Safety Department

commences on Monday and ends on Sunday.

        17.    For many years. LaSalle has employed a consistent practice of scheduling Plaintiffs

for work.

        18.    During each two week pay period, Plaintiffs are routinely scheduled to work seven

(7) days during the first work week of the pay period from \ttonday through the following Sunday.

Then, during the second work week of the pay period. Plaintiffs arc scheduled to v\Ork three (3)

days.



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            19.   Plaintiffs' regularly scheduled work day is eight (8) hours.

        20.       During the first work week of each two week pay period, Plaintiffs routinely work

at least 56 hours that week.

        21.       During the second \\-Ork week of the pay period, Plaintiffs routinely work at least

24 hours.

        22.       The FLSA and PMW A require covered employers such as a LaSalle to compensate

non-exempt employees for all hours worked in excess of 40 hours in a given work week at one

and a halftimes the employee's regular hourly rate of pay.

        23.       LaSalle, through its personnel, willfully, unlawfully, routinely, and as a matter of

course applies those hours worked during the first work week in excess of 40 hours per week to

the second work week when compensating Plaintiffs, thereby making it appear that no or less

overtime was worked in a given work week and denying Plaintiffs the overtime compensation to

which they are entitled.

        24.       Stated differently, Plaintiffs' hours worked are unlawfully spread over two work

weeks in order to attempt to reduce or eliminate LaSalle's overtime liability to Plaintiffs.

        25.       As a result of LaSalle's actions, Plaintiffs' payroll records have been unlawfully

and fraudulently manipulated to deprive Plaintiffs of the lawful compensation to which they are

entitled.

        26.       Pursuant to 29 C.F.R. Part 516, LaSalle is required to possess and maintain

Plaintiffs' time sheets and other accurate records related to its employees' hours worked.

        27.       LaSalle maintained and exhibited a uniform policy, pattern and practice of willfully

failing to pay Plaintiffs and other individuals in the same or comparable positions for all hours

worked, and also did not pay them the legally required amount of overtime compensation in an



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amount required by law and on a timely basis in violation of the FLSA, P~W A, the WPCL, and

the Wage Theft Ordinance.

        28.     LaSalle has thus intentionally, willfully, and repeatedly engaged in a pattern,

practice, and/or policy of violating the FLSA, PMWA, WPCL, and Wage Theft Ordinance with

respect to the Plaintiffs and those similarly situated to them. This policy, pattern, and/or practice

includes, but is not limited to willfully failing to pay Plaintiffs and those similarly situated to them

the regular rate of pay for all hours up to 40 per week, and overtime wages of one and one-half

their regular rate of pay for all hours worked in excess of 40 hours per week.

        29.     All actions and omissions described in this Complaint were made by LaSalle

directly or through its supervisory employees and agents.

        30.     Upon information and belief, LaSalle's unlawful conduct described in this

Complaint is pursuant to a corporate policy or practice of minimizing labor costs by violating the

FLSA, PMWA, the WPCL, and the Wage Theft Ordinance.

        31.     LaSalle's failure to comply with the FLSA, P~WA. the WPCL, and the Wage

Theft Ordinance was willful and caused Plaintiffs to suffer lost wages and interest thereon.

        32.     LaSalle's unlawful conduct has been widespread, repeated, and consistent over the

course of many years.

                                          COlJNTI
                                   VIOLATION OF THE FLSA

       33.     Plaintiffs repeat, reaffirm, and reallege paragraphs 1 through 32 of the Complaint

as if they were fully restated at length herein.

        34.    The FLSA requires, pursuant to 29 C.S.C. § 206. that all employers pay their

employees at least a minimum wage for all hours worked.




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        35.     The FLSA requires, pursuant to 29 U.S.C. § 207, that non-exempt employees be

compensated at one and a half times their regular hourly rate of pay for all hours worked in excess

of forty hours per week.

        36.     Plaintiffs, by virtue of their position and LaSalle's failure to pay them on a salaried

basis, are non-exempt employees.

        37.     By improperly reallocating and spreading the hours Plaintiffs worked in a two week

pay period over two weeks, LaSalle denied and continues to deny Plaintiffs the overtime

compensation to which they are entitled.

        38.     LaSalle's failure to pay Plaintiffs the overtime compensation to which they are

entitled is a violation of the FLSA.

        39.     As a result of LaSalle's violation of the FLSA, there is now a sum due and owing

from it in an amount that is not yet determined.

       40.      LaSalle's violation of the FLSA has been willful.

       41.     As a result of LaSalle's violation of the FLSA, Plaintiffs are entitled to all wages

due and owing, an equal amount as liquidated damages, their costs. and their reasonable attorneys'

fees, all in an amount to be determined at trial. See 29 C .S.C. § 216.

                                              COVNT II
                                       VIOLATION OF THE PMW A

       42.     Plaintiffs repeat, reaffirm, and reallege paragraphs I through 41 of the Complaint

as if they were fully restated at length herein.

       43.     The P~WA requires, pursuant to 43 P.S. § 333.104, that all employers pay their

employees at least a minimum wage for all hours worked.




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            44.     The PMWA requires, pursuant to 43 P.S. § 333.104(c), that non-exempt employees

    be compensated at one and a half times their regular hourly rate of pay for all hours worked in

    excess of forty hours per week.

            45.     Plaintiffs by virtue of their position and LaSalle's failure to pay them on a salaried

    basis, are non-exempt employees within the meaning of the P'.V1WA.

            46.     By improperly reallocating and spreading the hours Plaintiffs worked in a two week

    pay period over two weeks, LaSalle denied and continues to deny Plaintiffs the overtime

    compensation to which they are entitled.

            47.     LaSalle's failure to pay Plaintiffs the overtime compensation to which they are

    entitled is a violation of the PMW A.

           48.      As a result of LaSalle 's violation of the PMW A, there is now a sum due and owing

    from it in an amount that is not yet determined.

           49.      LaSalle's violation of the PMWA has been willful.

            50.     As a result ofLaSalle's violation of the PMWA, Plaintiffs are entitled to all wages

    due and owing, liquidated damages, their costs, and their reasonable attorneys' fees, all in an

    amount to be determined at trial. See 43 P.S. § 333. 113.

                                                COUNTIII
                                          VIOLATION OF THE WPCL

           51.     Plaintiffs repeat, reaffirm, and reallege paragraphs 1 through 50 of the Complaint

    as if they were fully restated at length herein.

            52.    At all relevant times, Plaintiffs were employed by LaSalle within the meaning of

    the WPCL.

           53.     LaSalle is an employer within the meaning of the WPCL.




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              54.     Pursuant to the WPCL, every employer shall pay all wages, other than fringe

      benefits and wage supplements, due to its employees on regular paydays designated in advance by

      the employer.

              55.     By repeatedly and unjustifiably failing to pay Plaintiffs the wages owed to them as

      alleged herein, LaSalle has violated the WPCL.

              56.     Pursuant to the WPCL, any employee to whom any type of wage is payable may

      institute an action under the WPCL to recover unpaid wages, fringe benefits. and liquidated

      damages, as well as costs and reasonable attorneys' fees, in any court of competent jurisdiction for

      and on behalf of himself. 43 P.S. §§ 260.9a, 260.10.

              57.     LaSalle is thus liable to Plaintiffs for all wages owed, fringe benefits, liquidated

      damages as permitted in 43 P.S. §§ 260.9a and 260.10. his co-;ts. and reasonable attorneys' fees.

                                              COUNT IV
                                 PHILADELPHIA WAGE THEFT ORDINA~CE

              58.     Plaintiffs repeat, reaffirm, and reallege paragraphs 1 through 57 of the Complaint

      as if they were fully restated at length herein.

              59.     The Philadelphia Wage Theft Ordinance, 9 Phi la. Code §§ 9-4301, et seq. requires

      employers to comply with Pennsylvania and federal laws regulating the payment of wages,

      including overtime wages. See 9 Phi la. Code § 9-430 l.

             60.      The Wage Theft Ordinance is a lawfully enacted ordinance and exercise of power

      of a city of the first class under the Home Rule Act, 53 P.S. § 13131. See Commonwealth v

      Cabell, 185 A.2d 611 (Pa. Commw. Ct. 1962).

             61.      LaSalle is subject to the wage payment requirements of the Wage Theft Ordinance

      because LaSalle is an "employer" under 9 Phi la. Code § 9-4301.




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                      62.     During all relevant times, Plaintiffs were and are "employee[s]" under the Wage

               Theft Ordinance. See 9 Phila. Code§ 9-4301.

                      63.      LaSalle failed to compensate Plaintiffs for all hours worked, as well as for overtime

               wages for hours worked more than forty (40) in a workweek, in violation of the Wage Theft

               Ordinance. 9 Phila. Code § 9-4301.

                      64.     No good faith contest exists as to the wages owed to Plaintiffs by LaSalle.

                      65.     LaSalle's violations of the Wage Theft Ordinance are willful and wanton.

                      66.     Pursuant to 9 Phila. Code§§ 9-4305(1) and 9-4307, employers, such as LaSalle,

               who fail to pay an employee wages in conformance with the Wage Theft Ordinance shall be liable

               to the employee for the unpaid wages due, costs, reasonable attorneys' fees, and penalties.

                      67.     LaSalle is in violation of the Wage Theft Ordinance by failing to pay Plaintiffs for

               all compensable time and for overtime wages due.

                                                    PRAYER FOR RELIEF

                      Wherefore, Plaintiffs request that the Court grant them the following relief:

                              a.      A declaratory judgment that the practices complained of herein are unlawful

               under the FLSA, the PMWA, the WPCL, and the Wage Theft Ordinance;

                              d.      An injunction requiring LaSalle to cease its unlawful practices under, and

               comply with, the FLSA, P'.'vIWA, WPCL, and the Wage Theft Ordinance;

                              e.      An award of unpaid wages to Plaintiffs to be determined regular rate of pay

               for those hours worked up to 40 hours per week;

                              f.      An award of overtime wages for all hours worked in excess of 40 in a

               workweek at a rate of one and one-half time the regular rate of pay due under the FLSA and the

               P:v1WA;



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               g.      An award of liquidated and/or punith e damages as a result of LaSalle' s

willful violation of the FLSA pursuant to 29 U.S.C. § 216 and/or Pennsylvania law, as well as

penalties under the Wage Theft Ordinance;

               h.      An award of damages representing the employer's share of FICA, FGTA,

state unemployment insurance, and any other required employment taxes;

               1.      An award of prejudgment and post-judgment interest;

              J.       An award of costs and expenses of this action together with reasonable

attorneys' fees and costs; and

               k.      Such other and further relief as this Court deems just and proper.:

                                     JURY TRIAL DEMA'.'iD


       Plaintiffs demands a trial by jury for all issues of fact.




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                                                       Attorney for Plaint1/fs
Dated: August 29, 2018




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